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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 SHERMAN DIVISION

  ANDREA HOUSER,                                   §
                                                   §
                         Plaintiff,                §
                                                   §
  v.                                               § NO. 4:18-cv-00241-ALM-KPJ
                                                   §
  CASTLE MONTESSORI SCHOOLS                        §
  INC.,                                            §
                Defendant.                         §



              JOINT STIPULATION OF DISMISSAL WITH PREJUDICE AND
                            RELEASE OF JUDGMENT

 TO THE HONORABLE COURT:

          Plaintiff Andrea Houser and Defendant Castle Montessori Schools, Inc. have reached a

 settlement to resolve all issues and claims in the above-referenced case. (See Dkt. No. 65.)

 Therefore, pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties stipulate and

 agree to dismiss this action with prejudice, with each party to bear its own costs, attorneys’ fees,

 and expenses. Furthermore, Plaintiff hereby forever releases and discharges the judgment in this

 case (Dkt. No. 54) and declares that any obligations thereunder have been fully and finally

 satisfied. Under Rule 41, as all parties have signed, this stipulation is effective without a court

 order.




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                                     Respectfully Submitted,


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                                 CERTIFICATE OF SERVICE

         This is to certify that a true and correct copy of the foregoing instrument was served upon
 all counsel via electronic service pursuant to the Federal Rules of Civil Procedure on this 14th day
 of April, 2020.

                                               /s/ Megan Dixon
                                               Megan Dixon




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